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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH, et al

                       Plaintiffs,
                                                       Civil Action No. 1:21-CV-02265-APM
       v.

DONALD J. TRUMP, et al

                       Defendants.


         PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT REHL’S
                      MOTION FOR RECONSIDERATION

       Defendant Rehl’s motion does not meet this Court’s well-established standard for

reconsideration and is wholly without merit. He identifies no errors in this Court’s prior decision,

no change in controlling law, no new relevant facts, and no harm—let alone manifest injustice—

that would occur in the absence of reconsideration. And, indeed, none of these exist. The Court

should deny the motion.

                                     Procedural Background

       On November 10, 2021, this Court denied the motions to stay of Defendants Rehl,

Nordean, Taylor, and Kinnison, who had argued that the prosecution of this case jeopardized

their Fifth Amendment rights. The Court disagreed, holding that no Defendant had explained

how “the filing of a Rule 12 motion would compromise his 5th Amendment right”; that any risk

to Defendants’ Fifth Amendment rights “is not a prospect that any defendant faces imminently”;

and that “the dilemma defendants claim to face will not present itself anytime soon.” Minute

Order Denying Various Motions to Stay (entered Nov. 10, 2021). On the contrary, the Court

found that “a stay for individual defendants risks future delay in this case.” Id.



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                                    Legal Authority and Analysis

        “[A] district court should not grant a motion for reconsideration unless the moving party

shows new facts or clear errors of law which compel the court to change its prior position.” Nat’l

Ctr. For Mfg. Sciences v. Dept. of Defense, 199 F.3d 507, 511 (D.C. Cir. 2000). “A court ‘should

be loathe’ to grant a motion for reconsideration ‘in the absence of extraordinary circumstances

such as where the initial decision was clearly erroneous and would work a manifest injustice.’”

Associated Mortgage Bankers Inc. v. Carson, 281 F.Supp.3d 5, 7 (D.D.C. 2017) (quoting

Marshall v. Honeywell Tech. Sols., Inc., 598 F.Supp.2d 57, 59 (D.D.C. 2009)). “Reconsideration

may be warranted where there was a patent misunderstanding of the parties, where a decision

was made that exceeded the issues presented, where a court failed to consider controlling law, or

where a significant change in the law occurred after the decision was rendered.” Marshall, 598 F.

Supp. 2d at 59-60. The movant must show both that reconsideration is warranted and that “harm

or injustice would result” if it is denied. Id. at 60.

        Defendant Rehl’s motion for reconsideration should be denied because he fails to

establish any of the prerequisites for the relief he seeks. He identifies no new facts, error, or

misunderstanding by the Court. He does not identify any decision of the Court that exceeded the

issues presented. He does not identify any failure of the Court to consider controlling law or any

subsequent changes to the law. And he identifies no manifest injustice or harm to himself that

would result without reconsideration.

        Defendant Rehl argues only that another case schedule—one that stays all proceedings

until service on remaining Defendants is complete—is preferable to what this Court has ordered.

These are not “extraordinary circumstances.” Associated Mortgage Bankers, 281 F. Supp. 3d at

7. Nor are they new. At the time the Court denied the stay motions on November 10, 2021, the



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Court and the parties were well aware that a small number of Defendants had yet to be served.

See Minute Order Denying as Moot Defendant Martinez’s Motion to Clarify (entered Nov. 1,

2021) (acknowledging that the consolidated briefing schedule would not apply to defendants

who had not yet been served). As Plaintiffs noted in their Motion for a Consolidated Briefing

Schedule, a consolidated schedule is preferable “notwithstanding the Defendants remaining to be

served and the failure of some Defendants to appear or to respond to the Complaint, because it is

uncertain whether or by when any of these defendants will be served process or appear, and

suspending the litigation would prejudice both the Defendants who have appeared and the

Plaintiffs, who share a common interest in the resolution of the claims in the Complaint.” ECF

59, at 2. 1

                                           Conclusion

         For the foregoing reasons, Defendant Rehl’s motion is meritless and the Court should

deny it.

/s/ David Brody_________________         December 10, 2021
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 On December 9, 2021, Plaintiffs personally served Defendant Alexander. Plaintiffs intend to
submit a filing documenting this service soon. The Plaintiffs’ motion for extension of time to
serve remaining defendants is pending with the Court.
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                                CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 5, a copy of the foregoing filing is being

served electronically on those parties who have appeared and registered with the Court’s ECF

system. Plaintiffs are serving remaining defendants via first class mail or other permitted means.


                                                    /s/ David Brody
                                                    David Brody




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